JS-CAND 44 (Rev. 10/2020)              Case 3:21-cv-07174-SK Document 1-1 Filed 09/16/21 Page 1 of 1
                                                                                CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
  JENNIFER MAREK as an individual, on behalf of                                                             MOLSON COORS BEVERAGE COMPANY; MOLSON
  herself, the general public and those similarly situated                                                  COORS BEVERAGE COMPANY USA LLC
   (b) County of Residence of First Listed Plaintiff San Mateo CA                                            County of Residence of First Listed Defendant Cook County, IL
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.
   (c)      Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
 Seth Safier, Gutride Safier LLP, 100 Pine St, #1250, San
 Francisco, CA 94111; 415-336-6545
II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                      and One Box for Defendant)
                                                                                                                                          PTF       DEF                                      PTF      DEF
      1    U.S. Government Plaintiff        3    Federal Question                                    Citizen of This State                  1        1      Incorporated or Principal Place      4      4
                                                 (U.S. Government Not a Party)
                                                                                                                                                            of Business In This State
                                                                                                     Citizen of Another State                2        2     Incorporated and Principal Place     5       5
      2    U.S. Government Defendant        4     Diversity                                                                                                 of Business In Another State
                                                (Indicate Citizenship of Parties in Item III)
                                                                                                     Citizen or Subject of a                 3        3     Foreign Nation                       6       6
                                                                                                     Foreign Country

IV.          NATURE OF SUIT                 (Place an “X” in One Box Only)
          CONTRACT                                                    TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                    OTHER STATUTES
   110 Insurance                         PERSONAL INJURY                     PERSONAL INJURY                   625 Drug Related Seizure of         422 Appeal 28 USC § 158         375 False Claims Act
   120 Marine                                                                                                      Property 21 USC § 881           423 Withdrawal 28 USC           376 Qui Tam (31 USC
                                       310 Airplane                        365 Personal Injury – Product
   130 Miller Act                                                              Liability                       690 Other                               § 157                           § 3729(a))
                                       315 Airplane Product Liability
   140 Negotiable Instrument                                               367 Health Care/                              LABOR                       PROPERTY RIGHTS               400 State Reapportionment
                                       320 Assault, Libel & Slander
   150 Recovery of                                                             Pharmaceutical Personal                                                                             410 Antitrust
                                       330 Federal Employers’                                                  710 Fair Labor Standards Act        820 Copyrights
       Overpayment Of                                                          Injury Product Liability                                                                            430 Banks and Banking
                                           Liability                                                           720 Labor/Management                830 Patent
       Veteran’s Benefits                                                  368 Asbestos Personal Injury                                                                            450 Commerce
                                       340 Marine                                                                  Relations                       835 Patent─Abbreviated New
   151 Medicare Act                                                            Product Liability
                                       345 Marine Product Liability                                            740 Railway Labor Act                   Drug Application            460 Deportation
   152 Recovery of Defaulted                                               PERSONAL PROPERTY                                                                                       470 Racketeer Influenced &
                                       350 Motor Vehicle                                                       751 Family and Medical              840 Trademark
       Student Loans (Excludes                                             370 Other Fraud                                                                                             Corrupt Organizations
                                       355 Motor Vehicle Product                                                   Leave Act                       880 Defend Trade Secrets
       Veterans)                                                           371 Truth in Lending
                                           Liability                                                           790 Other Labor Litigation              Act of 2016                 480 Consumer Credit
   153 Recovery of                                                         380 Other Personal Property
                                       360 Other Personal Injury                                               791 Employee Retirement                                             485 Telephone Consumer
       Overpayment                                                                                                                                  SOCIAL SECURITY
                                                                               Damage                              Income Security Act                                                 Protection Act
    of Veteran’s Benefits              362 Personal Injury -Medical                                                                                861 HIA (1395ff)
                                           Malpractice                     385 Property Damage Product                                                                             490 Cable/Sat TV
   160 Stockholders’ Suits                                                     Liability                             IMMIGRATION                   862 Black Lung (923)            850 Securities/Commodities/
   190 Other Contract                                                                                          462 Naturalization                  863 DIWC/DIWW (405(g))              Exchange
                                             CIVIL RIGHTS                  PRISONER PETITIONS
   195 Contract Product Liability                                                                                  Application                     864 SSID Title XVI
                                       440 Other Civil Rights                                                                                                                      890 Other Statutory Actions
                                                                              HABEAS CORPUS                    465 Other Immigration
   196 Franchise                                                                                                                                   865 RSI (405(g))                891 Agricultural Acts
                                       441 Voting                          463 Alien Detainee                      Actions
          REAL PROPERTY                442 Employment                                                                                              FEDERAL TAX SUITS               893 Environmental Matters
                                                                           510 Motions to Vacate
   210 Land Condemnation               443 Housing/                            Sentence                                                            870 Taxes (U.S. Plaintiff or    895 Freedom of Information
                                           Accommodations                                                                                              Defendant)                      Act
   220 Foreclosure                                                         530 General
                                       445 Amer. w/Disabilities–                                                                                   871 IRS–Third Party 26 USC      896 Arbitration
   230 Rent Lease & Ejectment                                              535 Death Penalty
                                           Employment                                                                                                   § 7609                     899 Administrative Procedure
   240 Torts to Land                                                                OTHER
                                       446 Amer. w/Disabilities–Other                                                                                                                  Act/Review or Appeal of
   245 Tort Product Liability                                              540 Mandamus & Other                                                                                        Agency Decision
   290 All Other Real Property         448 Education
                                                                           550 Civil Rights                                                                                        950 Constitutionality of State
                                                                           555 Prison Condition                                                                                        Statutes
                                                                           560 Civil Detainee–
                                                                               Conditions of
                                                                               Confinement

V.           ORIGIN (Place an “X” in One Box Only)
   1      Original                2    Removed from               3     Remanded from            4   Reinstated or           5 Transferred from              6   Multidistrict         8 Multidistrict
          Proceeding                   State Court                      Appellate Court              Reopened                  Another District (specify)        Litigation–Transfer     Litigation–Direct File


VI.          CAUSE OF           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                 28 USC s. 1332
             ACTION
                                Brief description of cause:
                                 class action for violation of consumer protection statutes; fraud
VII.         REQUESTED IN               ✔   CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                       CHECK YES only if demanded in complaint:
             COMPLAINT:                     UNDER RULE 23, Fed. R. Civ. P.                                                                          JURY DEMAND:             Yes       No

VIII. RELATED CASE(S),                                    JUDGE       Hon. William H. Orrick                          DOCKET NUMBER              3:21-cv-05461-WHO
      IF ANY (See instructions):
IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                           SAN JOSE                         EUREKA-MCKINLEYVILLE

                09/16/2021                                                                                                                s/Seth Safier/s/
DATE                                                      SIGNATURE OF ATTORNEY OF RECORD
